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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 AVICEDA THERAPEUTICS, INC.,

                Plaintiff,                          Civ. A. No. 1:23-cv-12468-IT

        vs.

 TRIAL RUNNERS, LLC,

                Defendant


        DEFENDANT’S UNOPPOSED MOTION FOR AN EXTENSION OF TIME

       The defendant, Trial Runners, LLC, moves, pursuant to Fed. R. Civ. P. 6(b), for an

extension of time to July 10, 2024, to file a supplemental disclosure statement under Rule 7.1. In

support of this motion, the defendant states that counsel is in the process of obtaining additional

information from the defendant concerning the citizenship of the defendants’ members and that

counsel is out of the country until July 7, 2024.

       Counsel for the plaintiff has stated that the plaintiff takes no position on the motion but

does not oppose it.

                                                      Respectfully submitted,

                                                      TRIAL RUNNERS, LLC

                                                      By its attorney:

                                                      /s/ Theodore J. Folkman

                                                      Theodore J. Folkman (BBO No. 647642)
                                                      RUBIN AND RUDMAN LLP
                                                      53 State St.
                                                      Boston, MA 02109
                                                      (617) 330-7135
                                                      tfolkman@rubinrudman.com
Dated: June 28, 2024
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                               CERTIFICATE OF COMPLIANCE

        I certify that I conferred with counsel for the plaintiff concerning this motion, and that
counsel stated that the plaintiff did not take a position on the motion but that the motion may be
filed as unopposed.

                                                     /s/ Theodore J. Folkman
